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                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS


CLERK OF COURT                                                  www.txs.uscourts.gov

                                     January 6, 2023


In re: State of Texas et al v. United States of America et al
District Court No.: 6:21−cv−00016
Circuit Court No.: 22−40367


To Whom It May Concern:

Enclosed is the electronic record on CD for this Notice of Appeal. Please prepare your
brief regarding this appeal using this copy of the paginated record.
Sealed documents are not included in the record being provided unless otherwise
ordered or allowed under Fifth Circuit Court Rules. Requests for copies of sealed
documents must be made by motion filed with the Fifth Circuit Court of Appeals.


Nathan Ochsner, Clerk
By: Brittany Boniface, Deputy Clerk
